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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )   CASE NO. CRS 2:96-350-09 WBS
                                             )
12                        Plaintiff,         )   ORDER TO RESET
                                             )   BRIEFING SCHEDULE’s
13   v.                                      )
                                             )
14   HUY CHI LUONG,                          )
                                             )
15                        Defendant.         )
                                             )
16                                           )
17
18         For the reasons set forth above, the revised briefing schedule
19   is adopted.    The government’s requests to file its supplemental
20   sentencing memorandum by July 15, 2013 is hereby granted.           Sentencing
21   in this matter remains unchanged and shall proceed on July 22, 2013.
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     DATED:   July 9, 2013
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